Case 2:15-cv-01979-JRG-RSP Document 1 Filed 11/30/15 Page 1 of 6 PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES                    §
INNOVATIONS, LLC,                               §
                                                §
       Plaintiff,                               §            Case No:
                                                §
vs.                                             §            PATENT CASE
                                                §
TOYOTA MOTOR CORPORATION and                    §
TOYOTA MOTOR SALES, U.S.A., INC.                §
                                                §
       Defendants.                              §


                                           COMPLAINT

       Plaintiff Rothschild Connected Devices Innovations, LLC (“Plaintiff” or “RCDI”) files

this Complaint against Toyota Motor Corporation and Toyota Motor Sales, U.S.A., Inc.

(collectively, “Defendants” or “Toyota”) for infringement of United States Patent No. 8,788,090

(hereinafter “the ‘090 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with its principal office located at

1400 Preston Road, Suite 400, Plano, Texas 75093.

       4.      On information and belief, Defendant Toyota Motor Corporation is a Japanese

company with a principal place of business at 1 Toyota-cho, Toyota City, Aichi Prefecture 471-


PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS TOYOTA MOTOR CORPORATION
and TOYOTA MOTOR SALES, U.S.A., INC.                                                       PAGE | 1
Case 2:15-cv-01979-JRG-RSP Document 1 Filed 11/30/15 Page 2 of 6 PageID #: 2




8571, Japan.

       5.      On information and belief, Defendant Toyota Motor Sales, U.S.A., Inc. is a

California corporation with a principal place of business at 19001 S. Western Avenue, Torrance,

California 90501.

       6.      On information and belief, this Court has personal jurisdiction over Defendants

because Defendants have committed, and continue to commit, acts of infringement in the state

of Texas, have conducted business in the state of Texas, and/or have engaged in continuous and

systematic activities in the state of Texas.

       7.      On information and belief, Defendants’ instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in the Eastern

District of Texas.

                                               VENUE

       8.      Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§ 1391(c)

and 1400(b) because Defendants are deemed to reside in this district. In addition, and in the

alternative, Defendants have committed acts of infringement in this District.

                                  COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,788,090)

       9.      Plaintiff incorporates paragraphs 1 through 8 herein by reference.

       10.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       11.     Plaintiff is the owner by assignment of the ‘090 patent with sole rights to enforce

the ‘090 patent and sue infringers.

       12.     A copy of the ‘090 Patent, titled “System and Method for Creating a Personalized

Consumer Product,” is attached hereto as Exhibit A.


PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS TOYOTA MOTOR CORPORATION
and TOYOTA MOTOR SALES, U.S.A., INC.                                                       PAGE | 2
Case 2:15-cv-01979-JRG-RSP Document 1 Filed 11/30/15 Page 3 of 6 PageID #: 3




       13.     The ‘090 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       14.     Upon information and belief, Defendants have infringed and continue to infringe

one or more claims, including at least claim 1, of the ‘090 patent by making, using, importing,

selling, and/or offering for sale a customizable system to remotely control available automobile

functions covered by one or more claims of the ‘090 patent. Defendants have infringed and

continue to infringe the ‘090 patent either directly or through acts of contributory infringement

or inducement in violation of 35 U.S.C. § 271.

       15.     Defendants sell, offer to sell, and/or use systems, including, without limitation,

the Toyota Entune® system, Entune® App Suite, and Prius Plug-in Hybrid Apps, , and related

connectable components, which may operate in connection with these systems, which infringe

at least Claim 1 of the ‘090 Patent. These systems and components allow a user to remotely

customize the operation of various functions in a car, such as charging, door locks, heating and

ventilation, and the like. The user can set preferences through the use of an app which may

reside, for example, on a smart phone. Through a login process, a remote server receives the

identity of the car and the identity of a user, retrieves the user’s preferences, and transmits those

preferences to a communication module within the vehicle.

       16.     Defendants’ actions complained of herein will continue unless Defendants are

enjoined by this court.

       17.     Defendants’ actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are enjoined

and restrained by this Court.

       18.     Plaintiff is in compliance with 35 U.S.C. § 287.



PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS TOYOTA MOTOR CORPORATION
and TOYOTA MOTOR SALES, U.S.A., INC.                                                          PAGE | 3
Case 2:15-cv-01979-JRG-RSP Document 1 Filed 11/30/15 Page 4 of 6 PageID #: 4




                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendants, their agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendants who receive notice

of the order from further infringement of United States Patent No. 8,788,090 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendants’ infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS TOYOTA MOTOR CORPORATION
and TOYOTA MOTOR SALES, U.S.A., INC.                                                           PAGE | 4
Case 2:15-cv-01979-JRG-RSP Document 1 Filed 11/30/15 Page 5 of 6 PageID #: 5




Dated: November 30, 2015        Respectfully submitted,


                                /s/ Jay Johnson
                                JAY JOHNSON
                                State Bar No. 24067322
                                D. BRADLEY KIZZIA
                                State Bar No. 11547550
                                ANTHONY RICCIARDELLI
                                State Bar No. 24070493
                                KIZZIA JOHNSON, PLLC
                                750 N. St. Paul Street, Suite 1320
                                Dallas, Texas 75201
                                (214) 613-3350
                                Fax: (214) 613-3330
                                jay@kjpllc.com
                                bkizzia@kjpllc.com
                                anthony@brownfoxlaw.com

                                ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS TOYOTA MOTOR CORPORATION
and TOYOTA MOTOR SALES, U.S.A., INC.                                 PAGE | 5
Case 2:15-cv-01979-JRG-RSP Document 1 Filed 11/30/15 Page 6 of 6 PageID #: 6




                               EXHIBIT A




PLAINTIFF’S COMPLAINT AGAINST DEFENDANTS TOYOTA MOTOR CORPORATION
and TOYOTA MOTOR SALES, U.S.A., INC.                                 PAGE | 6
